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               EXHIBIT A
                                Case 1:21-cv-11617-AK Document 1-1 Filed 10/01/21 Page 2 of 12
                                                                                                          Trial Court of Massachusetts


                                                                                                                                                                            •
                                                                      DOCKET NUMBER

        CIVIL ACTION COVER SHEET                                                                          The Superior Court                                                       .
                                                                                                                                                                                   ~




                                                                                                          COUNTY ! Suffolk
Plaintiff Stephen Levine                                                                   Defendant: Maplebear, Inc. (d/b/a lnstacart)

ADDRESS:                                                                                   ADDRESS:




Plaintiff Attorney: Shannon Liss-Riordan                                                   Defendant Attorney:

ADDRESS: Lichten & Liss-Riordan, P.C.                                                      ADDRESS:

            729 Boylston Street, Suite 2000

            Boston, MA 021 16
BBO: 640716                                                                                BBO:                                            8/12/2021
                                              TYPE OF ACTION AND TRACK DESIGNATION (see instructions section below)
          CODE NO.                          TYPE OF ACTION (specify)                                   TRACK                 HAS A J URY CLAIM BEEN MADE?
         A04                         Employmnet Contract                                                F                     0   YES           !Kl   NO

*If "Other" please describe:
                                Is there a claim under G .L. c. 93A?                                         Is there a class action under Mass. R. Civ. P. 23?
                                   0     Y ES     0    NO                                                        1K)   YES        0   NO
                                                      STATEMENT OF DAMAGES PURSUANT TO G .L. c. 212. §                       3A
The follow ing is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiffs counsel relies to determine money damages.
For this form, disregard double or treble damage claims; indicate single d amages only.
                                                                             TORT CLAIMS
A. Documented medical expenses to date
           1. Total hospital expenses

           2. Total doctor expenses

           3. Total chiropractic expenses

           4 . Total physical therapy expenses

           5. Total other expenses (describe below)

            I                                                                                                                             I
                                                                                                            Subtotal (1-5):                                $0.00

B. Documented lost w ages and compensation to d ate

C. Documented property damages to d ate

D . Reasonably anticipated future medical and hospital expenses

E. Rea sonably anticipa ted lost wag es

F. Other documente d items of damages (describe below)

I·                                                                                                                                     I
                                                                                                            TOTAL (A-F):                                     $0.00

G. Briefly describe plaintiff s inj ury, including the na ture and extent of injury:

I                                                                                                                                                                           I
                                                                              CO NTRACT CLAIMS
     D This action includes a claim involving collection o f a debt incurre d pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).
     Item#     I                                           Detailed Description of Each Claim                                                                      Amount

      1.       I
                                                                                                                                                 Total



Signature of Attorney/Unrepresented Plaintiff: X                                                                                    I I         Date :

RELATED ACTIONS: Please provide the case number, case name, and county o f any related actions pending in the Superior Court.

I                                                                                                                                                                                      I
                                                              CERTIFICATION PURSUANT TO SJC RULE 1 :18
 I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC Rule 1:18) requiring that I provide my
 clients with information about court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.
Signature of Attorney/Unrepresented Plaintiff: X            .11.--~   ..fi.,q-~
                                                                                                                                    I I     Date: August 12, 2021


    SC0001: 1/22/2021                                                  www.mass.gov/courts                                                    Datemme Printed:08-1 1-2021 11:57:43
                            Case 1:21-cv-11617-AK Document 1-1 Filed 10/01/21 Page 3 of 12
                                          CIVIL ACTION COVER SHEET INSTRUCTIONS
                                     SELECT CATEGORY THAT BEST DESCRIBES YOUR CASE

     AC Acjjons lnvoMng the State/Municipality•                            ER Equitable Remedies                                      RP Real Property

     AA1 Contract Action involving Commonwealth,               D01 Specific Performance of a Contract         (A)      C01 Land Taking                              (F)
         Municipality, MBTA, etc.                (A)           D02 Reach and Apply                            (F)      CO2 Zoning Appeal, G.L. c. 40A               (F)
     AB1 Tortious Action involving Commonwealth,               D03 Injunction                                 (F)      C03 Dispute Concerning Title                 (F)
          Municipality, MBTA, etc.               (A)           D04 Reform/ Cancel Instrument                  (F)      C04 Foreclosure of a Mortgage                (X)
     AC1 Real Property Action involving                        D05 Equitable Replevin                         (F)      C05 Condominium Lien & Charges               (X)
         Commonwealth, Municipality, MBTA etc. (A)             D06 Contribution or Indemnification            (F)      C99 Other Real Property Action               (F)
     AD1 Equity Action involving Commonwealth,                 D07 Imposition of a Trust                      (A)
         Municipality, MBTA, etc.                (A)           D08 Minority Shareholder's Suit                (A)              MC Miscellaneous Civil Actions
     AE1 Administrative Action involving                       D09 Interference in Contractual Relationship   (F)
         Commonwealth, Municipality, MBTA,etc. (A)             010 Accounting                                 (A)      E18 Foreign Discovery Proceeding             (X)
                                                               011 Enforcement of Restrictive Covenant        (F)      E97 Prisoner Habeas Corpus                   (X)
              CN ContracUBusiness cases                        012 Dissolution of a Partnership               (F)      E22 Lottery Assignment, G.L. c. 10, § 28     (X)
                                                               D13 Declaratory Judgment, G.L. c. 231A         (A)
     A01 Services, Labor, and Materials           (F)          D14 Dissolution of a Corporation               (F)            A B Abuse/Harassment Prevention
     A02 Goods Sold and Delivered                 (F)          D99 Other Equity Action                        (F)
     A03 Commercial Paper                         (F)                                                                  E15 Abuse Prevention Petition, G.L. c. 209A (X)
     A04 Employment Contract                      (F)                                                                  E21 Protection from Harassment. G.L. c. 258E(X)
     A05 Consumer Revolving Credit - M.R.C.P. a.1 (F)
                                                               PA Civil Actions Involving Incarcerated Party    t
     A06 Insurance Contract                       (F)                                                                          AA Administrative Civil Actions
     A08 Sale or Lease of Real Estate             (F)          PA1 Contract Action involving an
     A12 Construction Dispute                     (A)              Incarcerated Party                         (A)      E02 Appeal from Administrative Agency,
     A14 lnterpleader                             (F)          PB1 Tortious Action Involving an                            G.L. c. 30A                              (X)
     BA1 Governance, Conduct, Internal                             Incarcerated Party                         (A)      E03 Certiorari Action, G.L. c. 249, § 4      (X)
         Affairs of Entities                      (A)          PC1 Real Property Action involving an                   E05 Confirmation of Arbitration Awards       (X)
     BA3 Liability of Shareholders, Directors,                     Incarcerated Party                         (F)      E06 Mass Antitrust Act, G.L. c. 93, § 9      (A)
          Officers, Partners, etc.                (A)          PD1 Equity Action involving an                          E07 Mass Antitrust Act, G.L. c. 93, § 8      (X)
     BB1 Shareholder Derivative                   (A)              Incarcerated Party                         (F)      E08 Appointment of a Receiver                (X)
     BB2 Securities Transactions                  (A)          PE1 Administrative Action involving an                  E09 Construction Surety Bond, G.L. c. 149,
     BC1 Mergers, Consolidations, Sales of                         Incarcerated Party                         (F)          §§ 29, 29A                               (A)
         Assets, Issuance of Debt, Equity, etc.   (A)                                                                  E10 Summary Process Appeal                   (X)
     BD1 Intellectual Property                    (A)                                                                  E11 Worker's Compensation                    (X)
     BD2 Proprietary Information or Trade                                                                              E16 Auto Surcharge Appeal                    (X)
          Secrets                                 (A)          B03 Motor Vehicle Negligence - Personal                 E17 Civil Rights Act, G.L. c.1 2, § 11H      (A)
     BG1 Financial Institutions/Funds             (A)              Injury/Property Damage                     (F)      E24 Appeal from District Court
     BH1 Violation of Antitrust or Trade                       B04 Other Negligence - Personal                             Commitment, G.L. c.123, § 9(b)           (X)
          Regulation Laws                         (A)              Injury/Property Damage                     (F)      E25 Pleural Registry (Asbestos cases)
     A99 Other ContracVBusiness Action - Specify (F)           B05 Products Liability                         (A)      E94 Forfeiture, G.L. c. 265, § 56            (X)
                                                               B06 Malpractice - Medical                      (A)      E95 Forfeiture, G.L. c. 94C, § 47            (F)
                                                               B07 Malpractice - Other                        (A)      E99 Other Administrative Action              (X)
     • Choose this case type if ANY party is the                                                                       Z01 Medical Malpractice - Tribunal only,
                                                               BOB Wrongful Death - Non-medical               (A)
     Commonwealth, a municipality, the MBTA, or any                                                                        G.L. c. 231, § 60B                       (F)
                                                               B15 Defamation                                 (A)
     other governmental entity UNLESS your case is a           B19 Asbestos                                   (A)      Z02 Appeal Bond Denial                       (X)
     case type listed under Administrative Civil Actions
                                                               B20 Personal Injury - Slip & Fall              (F)
     (AA).                                                                                                                        SO Sex Offender Review
                                                               B21 Environmental                              (F)
                                                               B22 Employment Discrimination                  (F)
     t Choose this case type if ANY party is an                BE1 Fraud, Business Torts, etc.                (A)      E12 SOP Commitment, G.L. c. 123A, § 12       (X)
     incarcerated party, UNLESS your case is a case            B99 Other Tortious Action                      (F)      E14 SOP Petition, G.L. c. 123A, § 9(b)       (X)
     type listed under Administrative Civil Actions (AA)
     or is a Prisoner Habeas Corpus case (E97).                                                                                  RC Restricted Civil Actions
                                                                  RP Summary Process (Real Property),
                                                               S01 Summary Process - Residential              (X)      E19 Sex Offender Registry, G.L. c. 6, § 178M (X)
                                                               S02 Summary Process - Commercial/                       E27 Minor Seeking Consent, G.L. c.112, § 12S(X)
                                                                       Non-residential                        (F)
                                                           TRANSFER YOUR SELECTION TO THE FACE SHEET

          EXAMPLE:
          CODE NO.                            TYPE OF ACTION (specify)                  TRACK                  HAS A JURY CLAIM BEEN MADE?
                                                                                                               ~YES          ONO
          803                     Motor Vehicle Negligence-Personal Injury



                                             STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A
DUTY OF THE PLAINTIFF - The plaintiff shall set forth, on the face of the civil action cover sheet (or attach additional sheets as necessary), a
statement specifying the facts on which the plaintiff relies to determine money damages. A copy of such civil action cover sheet, including the
statement as to the damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a complaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or self-represented litigant.

DUTY OF THE DEFENDANT - If the defendant believes that the statement of damages filed by the plaintiff is inadequate, the defendant may
file with his/her answer a statement specifying the potential damages which may result if the plaintiff prevails.



                                  A CIVIL COVER SHEET MUST BE FILED WITH EACH COMPLAINT.
                            FAILURE TO COMPLETE THIS COVER SHEET THOROUGHLY AND ACCURATELY
                                           MAY RESULT IN DISMISSAL OF THIS ACTION.

  SC0001: 1/22/2021                                                www.mass.gov/courts                                            Date/Time Printed:08-11-2021 11 :57:43
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                                                            CIVIL DOCKET NO               Trial Court of Massachusetts
                     Summons
                                                            2184CV01853                   The Superior Court

CASE NAME.                                                                                Michael Joseph Donovan                        Clerk of Courts
                                                                                                                                                              1
  STEPHEN LEVINE, on behalf of himself and all
                                                                                       1--s.,..,·cu-f-,,-£.,...0.,...,
                                                                                                                 1 k..,,,.-,---c::-=--=-=,-------C-  in_lY_ _ _1
                                                                                                                                                  ::l_        1_


  others similarly situated                                                               COURT NAME & ADDRESS.
                                                               Plaintiff(s)                                                                                   I
                                          vs.                                              SUPERIOR CIVIL COURT

                                                                                           SUFFOLK COUNTY COURTHOUSE
  MAPLEBEAR,
  .          INC. (d/b/a INSTACART) .            .                                         THREE PEMBERTON SQ 1,11· F!cc-r
                                                             Defendant(s)                  BOSTON, MASSACHUSETTS 02108




               THIS SUMMONS IS DIRECTED TO Maplebear, Inc. (d/b/a Instacart)                                   (Defendant's name)



  You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the Plaintiffs Complaint filed
  against you is attached to this summons and the original complaint has been filed in the                                                        Court.
                                    •you MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

 1. You must respond to this lawsuit in writing within 20 days.
 If you do not respond. the court may decide the case against you and award the Plaintiff everything asked for in the complaint.
 You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to
 resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing

 from the Court.

 2. How to Respond.
 To respond to this lawsuit,,you must file a writfon to response with the court and mail a copy to the Plaintiffs Attorney (or the
                               I
 Plaintiff, if unrepresented). You can do this by:
         a) Filing your s~ned original response with the Clerk's Office for Civil Business.                                                    Court
                                                                              (address), by mail or in person ANQ
             b) Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following address:



 3. What to Include in Your Response.
 An ''Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
 alleged in each paragraph of the Complaint. Some defenses, called affirmative defenses, must be stated in your Answer or
 you may lose your right to use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that
 are based on the same facts or transaction described in the Complaint, then you must include those claims in your Answer.
 Otherwise, you may los_e your right to sue the Plaintiff about anything related to this lawsuit. If you .want to have your case
    heard by a jury, you must specifically request a jury trial in your court no more than 10 days after sending your Answer                                       !
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                       COMMONWEALTH OF MASSACHUSETTS


SUFFOLK, ss.                                             SUPERIOR COURT
                                                         C. A. NO. - - - - - - -

                                   )
STEPHEN LEVINE, on behalf          )
of himself and all others similarly situated,
                                   )
                                   )
                     Plaintiff,    )
                                   )                               8/12/2021
V.                                 )
                                   )
MAPLEBEAR. INC. (d/b/a INSTACART), )
                                   )
                     Defendant.    )
________________)
                              CLASS ACTION COMPLAINT

       1.     This case is brought on behalf of individuals who have worked for

Maplebear, Inc. d/b/a lnstacart ("lnstacart") as delivery drivers or full-service shoppers

(both referred to here as "drivers") in Massachusetts. lnstacart provides on-demand

grocery shopping and grocery delivery services through a mobile phone application and

website. lnstacart is based in San Francisco, California, but it does business across the

United States and extensively throughout Massachusetts.

       2.     As described further below, lnstacart has willfully misclassified its drivers

as independent contractors in violation of Mass. Gen. L. c. 149 § 148B. In so doing,

lnstacart has violated Mass. Gen. L. c. 149 § 148 by failing to reimburse these drivers'

necessary business expenses such as gas and car maintenance and Mass. Gen. L. c.

151 §§ 1, 7 by failing to pay these drivers the Massachusetts minimum wage after

accounting for drivers' expenses and excluding their tips (as lnstacart is not entitled to

take the tip credit against the minimum wage). lnstacart has also failed to provide its


                                                1
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independent contractor drivers with paid sick leave at a rate of at least one hour for

every thirty hours worked in violation of the Massachusetts Earned Sick Time Law,

Mass. Gen. L. c . 149 § 148C.

       3.     lnstacart's agreement with its drivers contains a mandatory arbitration

provision, purporting to require drivers to arbitrate any disputes they have with lnstacart,

including disputes related to their classification as independent contractors.

       4.     Plaintiff contends that this arbitration agreement is not enforceable, as he

is a transportation worker exempt from arbitration under the Federal Arbitration Act

("FAA"), 9 U.S.C. § 1, and the agreement is unenforceable under Massachusetts law

because it contains a class action waiver that violates Massachusetts public policy. See

Archer v. GrubHub, Inc., No. 1984CV03277-BLS1 (Mass. Super. Ct. Jan. 11, 2021)

(finding GrubHub delivery drivers exempt from arbitration under FAA); see also

Waithaka v. Amazon.com Inc., 966 F.3d 10 (1st Cir. 2020) (refusing to enforce

arbitration agreement for Amazon delivery drivers).

                                         PARTIES

       5.     Plaintiff Stephen Levine is an adult resident of Lynn, Massachusetts. He

worked as an lnstacart independent contractor delivery driver in the Boston,

Massachusetts, area and the North Shore from approximately July 2019 to July 2020.

       6.     Defendant Maplebear, Inc. is a Delaware corporation with its headquarters

in San Francisco, California. Defendant does business in Massachusetts, including in

Boston.




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                                 STATEMENT OF FACTS

         7.    Defendant Maplebear, Inc. operates a same-day grocery delivery service,

which engages drivers across the state of Massachusetts to deliver groceries to its

customers at their homes and businesses.

         8.    lnstacart engages delivery drivers and full-service shoppers (both referred

to here as "drivers") across the country to prepare and deliver grocery orders. 1

         9.    Plaintiff Stephen Levine worked as a driver for lnstacart from

approximately July 2019 to July 2020.

         10.   lnstacart has classified its drivers like Mr. Levine as "independent

contractors," but under Massachusetts law, they should have been classified as

employees.

         11.   lnstacart drivers perform services within lnstacart's usual course of

business, which is a grocery delivery service. The drivers' services are fully integrated

into lnstacart's business. Without drivers to perform deliveries, lnstacart would not

exist.

         12.   lnstacart drivers are not typically engaged in their own grocery delivery

business. When delivering items for lnstacart customers, they wear the "hat" of

lnstacart.

         13.   In addition, lnstacart maintains the right of control over the drivers'

performance of their jobs and exercises detailed control over them.




        "Full-service shoppers" shop for the grocery items, as well as deliver them to
customers. lnstacart also engages "in-store shoppers" (many of whom it classifies as
employees) who pick out and shop for groceries but do not deliver the groceries. These
"in-store shoppers" (who do not deliver) are not the subject of this Complaint.
                                              3
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       14.    lnstacart communicates directly with customers and follows up with drivers

if the customer complains that something was not delivered or that the delivery

otherwise failed to meet their expectations. Based on any customer feedback, lnstacart

may suspend or terminate drivers.

       15.    lnstacart customers cannot request a specific driver and must place their

orders through lnstacart rather than with any particular driver.

       16.    lnstacart drivers do not need special qualifications or experience apart

from a valid driver's license and two years of experience driving and the ability to lift 30-

40 pounds (of groceries).

       17.    lnstacart drivers sign up for shifts in advance and must wait in specified

locations to receive deliveries.

       18.    lnstacart does not reimburse drivers for any expenses they may incur

while working for lnstacart, including, but not limited to the cost of owning or leasing and

maintaining their vehicles, gas, insurance, and phone and data expenses for running

the lnstacart Application. Drivers incur these costs as a necessary expenditure to work

for lnstacart, which Massachusetts law requires employers to reimburse.

       19.    lnstacart drivers have not always received an hourly wage. Instead, they

have been paid based on a combination of fees per delivery and fees per item

purchased. Because Plaintiff and other lnstacart drivers are paid by the delivery and do

not receive an hourly rate and have been required to bear many of the expenses of their

employment, their pay rates have often fallen below Massachusetts' minimum wage.




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       20.    lnstacart does not pay its independent contractor drivers any earned sick

time. Plaintiff was sick during the period he worked for lnstacart but was not able to

receive sick pay for that time.

                                    CLASS ALLEGATIONS

       21.    The Court should certify this case as a class action on behalf of all

lnstacart drivers who have worked as independent contractors in Massachusetts under

Mass. R. Civ. P. 23 and/or Mass. Gen. L. c. 149 § 150.

       22.    The class is so numerous that joinder of all members is impracticable.

Plaintiff estimates that lnstacart has employed thousands of drivers in Massachusetts

while incorrectly classifying them as independent contractors.

       23.    There are questions of law and fact common to the class, including

whether lnstacart has misclassified its drivers, failed to reimburse them for their

business expenses, pay them minimum wage, and denied them sick leave.

       24.    The named Plaintiff's claims are typical of those of the class members.

Plaintiff's claims encompass the challenged practices and course of conduct of

lnstaca rt. Furthermore, Plaintiff's legal claims are based on the same legal theories as

the claims of the class members. The legal issues as to which laws are violated by such

conduct apply equally to Plaintiff and to the class .

       25.    The named Plaintiff will fairly and adequately protect the interests of the

class. The named Plaintiff's claims are not antagonistic to those of the class and he has

hired counsel skilled in the prosecution of class actions.

       26.    Common questions of law and fact predominate over questions affecting

only individuals, and a class action is superior to other available methods for the fair and



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efficient adjudication of this controversy. This proposed class action presents few

management difficulties, conserves the resources of the parties and the court system,

protects the rights of each class member and maximizes recovery to them.


                   EXHAUSTION OF ADMINISTRATIVE REMEDIES

       27.     Pursuant to the state law requirements as set forth in Massachusetts

General Law Chapter 149 § 150, the above-named plaintiff has submitted his statutory

claims with the Office of the Attorney General.

                                COUNT I
                                Wage Act
             MASSACHUSETTS GENERAL LAW CHAPTER 149 §§ 148, 1488

       As set forth above, Defendant lnstacart has violated the Wage Act by

misclassifying its drivers as independent contractors pursuant to § 148B and by failing

to reimburse them for their business expenses necessary to perform their work, such as

gas and car maintenance, smartphones and phone data plans in violation of Gen. L. c.

149 § 148. This claim is asserted pursuant to Mass. Gen. L. c. 149 § 150.


                                 COUNT 11
                              Minimum Wage
               MASSACHUSETTS GENERAL LAW CHAPTER 151 §§ 1,7

       As set forth above, Defendant lnstacart has violated the Massachusetts Minimum

Wage Law, M.G.L. c. 151, §§ 1 and 7, by failing to ensure that its delivery drivers are

paid at least the full state minimum wage. This claim is brought pursuant to M.G.L. c.

151, § 20.




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                               COUNT Ill
                              Sick Leave
              MASSACHUSETTS GENERAL LAW CHAPTER 149 § 148C

       As set forth above, Defendant lnstacart has violated the Massachusetts Sick

Leave Law, M.G.L. c. 149 § 148C, by failing to pay lnstacart drivers earned sick time at

a rate of at least one hour for every thirty hours worked .



       WHEREFORE, Plaintiff requests that this Court enter the following relief:

     1. Certification of this case as a class action pursuant to Mass. R. Civ. P. 23

         and/or Mass. Gen. L. c. 149 § 150 and Mass. Gen. L. c. 151 § 20;

     2. Restitution for all damages due to the Plaintiff and other class members

         because of their misclassification as independent contractors and related wage

         law and sick leave violations;

     3. An injunction ordering lnstacart to cease its unlawful practices;

     4. Statutory trebling of damages;

     5. Attorneys' fees and costs

     6. Prejudgment interest; and,

     7. Any other relief to which Plaintiff and the class may be entitled.




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Dated:   August 12, 2021         Respectfully submitted,

                                 STEPHEN LEVINE, on behalf of himself and
                                 all others similarly situated,

                                 By his attorneys,




                                 Shannon Liss-Riordan, BBO # 640716
                                 Michelle Cassorla, BBO # 688429
                                 Lichten & Liss-Riordan, P.C.
                                 729 Boylston Street, Suite 2000
                                 Boston, MA 02116
                                 617-994-5800
                                 sliss@llrlaw.com
                                 mcassorla@llrlaw.com




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